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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

IN RE SKANSKA USA CIVIL
SOUTHEAST, INC. AND                              ADMIRALTY RULE 9(H)
SKANSKA USA, INC. AS
OWNERS OF THE BARGE KS                           CIVIL ACTION NO.
5531 PRAYING FOR                                 3:20-CV-5980 –RV/MJF
EXONERATION FROM OR
LIMITATION OF LIABILITY                          SENIOR DISTRICT JUDGE
                                                 LACEY A. COLLIER
_____________________________/

                         NOTICE OF APPEARANCE

      COMES NOW, ANTHONY J. RUSSO, ESQ. of Butler Weihmuller Katz

Craig, LLP, and hereby files this Notice of Appearance as counsel for Petitioners

SKANSKA USA CIVIL SOUTHEAST, INC. and SKANSKA USA, INC.


                                 BUTLER WEIHMULLER KATZ CRAIG LLP


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                                 and Skanska USA, Inc.
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                         CERTIFICATE OF SERVICE

      I hereby certify that the foregoing was filed via the Court’s CM/ECF system,

which will automatically serve and send notification of such filing to all registered

attorneys of record.


                                       /s/ Anthony J. Russo_____________
                                       ANTHONY J. RUSSO, ESQ.




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